         Case 1:21-cr-10250-NMG Document 1-1 Filed 08/25/21 Page 1 of 8




-PXFMM
  .JEEMFTFY
                         Case 1:21-cr-10250-NMG Document 1-1 Filed 08/25/21 Page 2 of 8
-6   5HYLVHG86'&0$ 3DJHRIRU5HYHUVH


District Court Case Number 7REHILOOHGLQE\GHSXW\FOHUN 
Name of Defendant                 AHMAD “ANDY” KHAWAJA

                                                                        U.S.C. Citations
                 Index Key/Code                                        Description of Offense Charged      Count Numbers
                                                        Conspiracy to Commit Wire Fraud
6HW     18 U.S.C. § 1349                                                                              Count 1


6HW
                                                        Forfeiture Allegation
6HW     18 U.S.C. § 981(a)(1)(C)

                                                        Forfeiture Allegation
6HW     28 U.S.C. § 2461


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW

ADDITIONAL INFORMATION:




86$0$&5,0&ULPLQDO&DVH&RYHU6KHHWSGI
                          Case 1:21-cr-10250-NMG
2-6   5HYLVHG86'&0$               Document 1-1 Filed 08/25/21 Page 3 of 8
Criminal Case Cover Sheet                                                               U.S. District Court - District of Massachusetts

Place of Offense:                        Category No.           II                     Investigating Agency        FFDA
                                                                                                                      A

City       /RZHOO                                   Related Case Information:

County       0LGGOHVH[                              6XSHUVHGLQJ,QG,QI                            &DVH1R
                                                    6DPH'HIHQGDQW                               1HZ'HIHQGDQW
                                                    0DJLVWUDWH-XGJH&DVH1XPEHU
                                                    6HDUFK:DUUDQW&DVH1XPEHU                18-2436-MBB & 18-2470-MBB
                                                    55IURP'LVWULFWRI

Defendant Information:

'HIHQGDQW1DPH         MOHAMMED “MOE” DIAB                                       -XYHQLOH                      <HV ✔ 1R

                       ,VWKLVSHUVRQDQDWWRUQH\DQGRUDPHPEHURIDQ\VWDWHIHGHUDOEDU                   <HV ✔ 1R
$OLDV1DPH             10880 Wilshire Blvd. Suite 1020

$GGUHVV                 &LW\ 6WDWH Glendale, CA
                      1975
%LUWKGDWH <URQO\ BBBBB661          8664
                                  ODVW BBBBBBBB     M
                                                   6H[BBBBB                     W
                                                                          5DFHBBBBBBBBBBB                         USA
                                                                                                      1DWLRQDOLW\BBBBBBBBBBBBBBBBBBBB

Defense Counsel if known:                Harland Braun, Esq.                           $GGUHVV 10880 Wilshire Blvd., Suite 1020

Bar Number                                                                                       Los Angeles, CA 90024

U.S. Attorney Information:

AUSA         Seth B. Kosto                                              %DU1XPEHULIDSSOLFDEOH

Interpreter:                 <HV     ✔ 1R                     /LVWODQJXDJHDQGRUGLDOHFW

Victims:               ✔ <HV      1R ,I\HVDUHWKHUHPXOWLSOHFULPHYLFWLPVXQGHU86& G              ✔ <HV          1R

Matter to be SEALED:                ✔    <HV             1R

           ✔:DUUDQW5HTXHVWHG                            5HJXODU3URFHVV                       ,Q&XVWRG\

Location Status:

Arrest Date

    $OUHDG\LQ)HGHUDO&XVWRG\DVRI                                                     LQ                                       
    $OUHDG\LQ6WDWH&XVWRG\DW                                          6HUYLQJ6HQWHQFH            $ZDLWLQJ7ULDO
✔ 2Q3UHWULDO5HOHDVH        2UGHUHGE\          USDC District of Columbia             RQ

Charging Document:                      &RPSODLQW                ,QIRUPDWLRQ                   ✔,QGLFWPHQW

                                                                                                                       2
Total # of Counts:                      3HWW\                   0LVGHPHDQRU                    ✔ )HORQ\

                                          &RQWLQXHRQ3DJHIRU(QWU\RI86&&LWDWLRQV

✔         I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
          accurately set forth above.

'DWH     08/25/2021                           6LJQDWXUHRI$86$
                         Case 1:21-cr-10250-NMG Document 1-1 Filed 08/25/21 Page 4 of 8
-6   5HYLVHG86'&0$ 3DJHRIRU5HYHUVH


District Court Case Number 7REHILOOHGLQE\GHSXW\FOHUN 
Name of Defendant                 MOHAMMED “MOE” DIAB

                                                                        U.S.C. Citations
                 Index Key/Code                                        Description of Offense Charged      Count Numbers
                                                        Conspiracy to Commit Wire Fraud
6HW     18 U.S.C. § 1349                                                                              Count 1

                                                        Conspiracy to Commit Bank Fraud
6HW     18 U.S.C. § 1349                                                                              Count 2
                                                        Forfeiture Allegation
6HW     18 U.S.C. § 981(a)(1)(C)

                                                        Forfeiture Allegation
6HW     28 U.S.C. § 2461


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW

ADDITIONAL INFORMATION:




86$0$&5,0&ULPLQDO&DVH&RYHU6KHHWSGI
                          Case 1:21-cr-10250-NMG
2-6   5HYLVHG86'&0$            Document 1-1 Filed 08/25/21 Page 5 of 8
Criminal Case Cover Sheet                                                             U.S. District Court - District of Massachusetts

Place of Offense:                       Category No.         II                      Investigating Agency        FDA

City      Lowell                                 Related Case Information:

County       Middlesex                            6XSHUVHGLQJ,QG,QI                            &DVH1R
                                                  6DPH'HIHQGDQW                               1HZ'HIHQGDQW
                                                  0DJLVWUDWH-XGJH&DVH1XPEHU
                                                  6HDUFK:DUUDQW&DVH1XPEHU                18-2436-MBB & 18-2470-MBB
                                                  55IURP'LVWULFWRI

Defendant Information:

'HIHQGDQW1DPH         AMY RINGLER ROUNTREE                                    -XYHQLOH                  G <HV G
                                                                                                                 ✔ 1R

                                                                                                                   ✔
                       ,VWKLVSHUVRQDQDWWRUQH\DQGRUDPHPEHURIDQ\VWDWHIHGHUDOEDUG<HVG1R
$OLDV1DPH
$GGUHVV                 &LW\ 6WDWH Logan, Utah
                      1982
%LUWKGDWH <URQO\ BBBBB661          7307
                                  ODVW BBBBBBBB     F
                                                   6H[BBBBB                    W
                                                                         5DFHBBBBBBBBBBB                         USA
                                                                                                     1DWLRQDOLW\BBBBBBBBBBBBBBBBBBBB

Defense Counsel if known:               Gary J. Kaufman, Esq.                        $GGUHVV 1801 Century Park East, Suite 1430

Bar Number                                                                                     Los Angeles, California

U.S. Attorney Information:

AUSA         Seth B. Kosto/Randall Warden (DOJ MLARS)                 %DU1XPEHULIDSSOLFDEOH

Interpreter:            G <HV       ✔ 1R
                                    G                      /LVWODQJXDJHDQGRUGLDOHFW

Victims:               ✔
                       G<HVG1R ,I\HVDUHWKHUHPXOWLSOHFULPHYLFWLPVXQGHU86& G               ✔ <HV
                                                                                                                 G           1R

Matter to be SEALED:                ✔
                                    G <HV        G      1R

           ✔
          G:DUUDQW5HTXHVWHG                      G5HJXODU3URFHVV                        G,Q&XVWRG\

Location Status:

Arrest Date

G $OUHDG\LQ)HGHUDO&XVWRG\DVRI                                                     LQ                                     
G $OUHDG\LQ6WDWH&XVWRG\DW                                      G6HUYLQJ6HQWHQFH         G$ZDLWLQJ7ULDO
G 2Q3UHWULDO5HOHDVH 2UGHUHGE\                                                   RQ

Charging Document:                  G&RPSODLQW                G,QIRUPDWLRQ                   ✔
                                                                                                     G,QGLFWPHQW
                                                                                                                    2
Total # of Counts:                  G3HWW\                   G0LVGHPHDQRU                   ✔
                                                                                                     G)HORQ\

                                         &RQWLQXHRQ3DJHIRU(QWU\RI86&&LWDWLRQV

✔
G         I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
          accurately set forth above.

'DWH     08/25/2021                      6LJQDWXUHRI$86$
                         Case 1:21-cr-10250-NMG Document 1-1 Filed 08/25/21 Page 6 of 8
-6   5HYLVHG86'&0$ 3DJHRIRU5HYHUVH


District Court Case Number 7REHILOOHGLQE\GHSXW\FOHUN 
Name of Defendant                 AMY RINGLER ROUNTREE

                                                                        U.S.C. Citations
                 Index Key/Code                                        Description of Offense Charged      Count Numbers
                                                        Conspiracy to Commit Wire Fraud
6HW     18 U.S.C. § 1349                                                                              Count 1

                                                        Conspiracy to Commit Bank Fraud
6HW     18 U.S.C. § 1349                                                                              Count 2
                                                        Forfeiture Allegation
6HW     18 U.S.C. § 981(a)(1)(C)

                                                        Forfeiture Allegation
6HW     28 U.S.C. § 2461


6HW


6HW


6HW


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6HW


6HW


6HW


6HW

ADDITIONAL INFORMATION:




86$0$&5,0&ULPLQDO&DVH&RYHU6KHHWSGI
                          Case 1:21-cr-10250-NMG
2-6   5HYLVHG86'&0$               Document 1-1 Filed 08/25/21 Page 7 of 8
Criminal Case Cover Sheet                                                               U.S. District Court - District of Massachusetts

Place of Offense:                        Category No.           II                     Investigating Agency        FFDA
                                                                                                                      A

City       /RZHOO                                   Related Case Information:

County       0LGGOHVH[                              6XSHUVHGLQJ,QG,QI                            &DVH1R
                                                    6DPH'HIHQGDQW                               1HZ'HIHQGDQW
                                                    0DJLVWUDWH-XGJH&DVH1XPEHU
                                                    6HDUFK:DUUDQW&DVH1XPEHU                18-2436-MBB & 18-2470-MBB
                                                    55IURP'LVWULFWRI

Defendant Information:

'HIHQGDQW1DPH         THOMAS WELLS                                              -XYHQLOH                     <HV ✔ 1R

                       ,VWKLVSHUVRQDQDWWRUQH\DQGRUDPHPEHURIDQ\VWDWHIHGHUDOEDU                  <HV ✔ 1R
$OLDV1DPH
$GGUHVV                 &LW\ 6WDWH Martin County, FL
                      1947
%LUWKGDWH <URQO\ BBBBB661          9466
                                  ODVW BBBBBBBB     M
                                                   6H[BBBBB                     W
                                                                          5DFHBBBBBBBBBBB                         USA
                                                                                                      1DWLRQDOLW\BBBBBBBBBBBBBBBBBBBB

Defense Counsel if known:                                                              $GGUHVV

Bar Number

U.S. Attorney Information:

AUSA         Seth B. Kosto/Randall Warden (DOJ MLARS)                   %DU1XPEHULIDSSOLFDEOH

Interpreter:               <HV       ✔ 1R                     /LVWODQJXDJHDQGRUGLDOHFW

Victims:               ✔ <HV      1R ,I\HVDUHWKHUHPXOWLSOHFULPHYLFWLPVXQGHU86& G              ✔ <HV        1R

Matter to be SEALED:                ✔    <HV            1R

           ✔:DUUDQW5HTXHVWHG                            5HJXODU3URFHVV                       ,Q&XVWRG\

Location Status:

Arrest Date

    $OUHDG\LQ)HGHUDO&XVWRG\DVRI                                                     LQ                                     
    $OUHDG\LQ6WDWH&XVWRG\DW                                          6HUYLQJ6HQWHQFH           $ZDLWLQJ7ULDO
    2Q3UHWULDO5HOHDVH     2UGHUHGE\                                                 RQ

Charging Document:                      &RPSODLQW                ,QIRUPDWLRQ                  ✔,QGLFWPHQW

                                                                                                                      1
Total # of Counts:                      3HWW\                   0LVGHPHDQRU                   ✔ )HORQ\

                                          &RQWLQXHRQ3DJHIRU(QWU\RI86&&LWDWLRQV

✔         I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
          accurately set forth above.

'DWH     08/25/2021                           6LJQDWXUHRI$86$
                         Case 1:21-cr-10250-NMG Document 1-1 Filed 08/25/21 Page 8 of 8
-6   5HYLVHG86'&0$ 3DJHRIRU5HYHUVH


District Court Case Number 7REHILOOHGLQE\GHSXW\FOHUN 
Name of Defendant                 THOMAS WELLS

                                                                        U.S.C. Citations
                 Index Key/Code                                        Description of Offense Charged      Count Numbers
                                                        Conspiracy to Commit Wire Fraud
6HW     18 U.S.C. § 1349                                                                              Count 1


6HW
                                                        Forfeiture Allegation
6HW     18 U.S.C. § 981(a)(1)(C)

                                                        Forfeiture Allegation
6HW     28 U.S.C. § 2461


6HW


6HW


6HW


6HW


6HW


6HW


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6HW


6HW


6HW


6HW

ADDITIONAL INFORMATION:




86$0$&5,0&ULPLQDO&DVH&RYHU6KHHWSGI
